UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

Plaintiff,
Vv. Case No. 23-CR-68
ABDI A. ABDI,
Defendant.
PLEA AGREEMENT
L The United States of America, by its attorneys, Gregory J. Haanstad, United

States Attorney for the Eastern District of Wisconsin, and Abbey M. Marzick and William T.
Berens, Assistant United States Attorneys, and the defendant, Abdi A. Abdi, individually and by
attorney Christopher Carson, pursuant to Rule 11 of the Federal Rules of Criminal Procedure,
enter into the following plea agreement:
CHARGES

2. The defendant has been charged in Counts One, Two, Three, Seven, Eight, and
Nine of a nine-count superseding indictment, which alleges violations of Title 18, United States
Code, Sections 371, 1951(a), 924(c)(1)(A)(ii), 1708, and 2(a).

3 The defendant has read and fully understands the charges contained in the
superseding indictment. He fully understands the nature and elements of the crimes with which
he has been charged, and those charges and the terms and conditions of the plea agreement have

been fully explained to him by his attorney.

Case 2:23-cr-00068-BHL Filed 01/04/24 Page 1of18 Document 73
4, The defendant voluntarily agrees to plead guilty to the following counts set forth

in full as follows:

COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

Ls At all times material to the superseding indictment, AV-1 was delivering mail in
his capacity as a mail carrier employed by the United States Postal Service.

2 On or about October 25, 2022, in the State and Eastern District of Wisconsin,

HURIA H. ABU,
JESSIE L. COOK, and
ABDI A. ABDI

did unlawfully obstruct, delay, and affect commerce and the movement of articles and
commodities in commerce by robbery in that the defendants did unlawfully take and obtain
property, namely: a U.S. mail arrow key, against AV-1’s will by means of actual and threatened
force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections 1951(a) and 2(a).

COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

ll; At all times material to the superseding indictment, AV-4 was delivering
mail in his capacity as a mail carrier employed by the United States Postal Service.

2, On or about March 13, 2023, in the State and Eastern District of

Wisconsin,

HURIA H. ABU,
DARRION M. ALLISON, and
ABDI A. ABDI

did unlawfully obstruct, delay, and affect commerce and the movement of articles and

commodities in commerce by robbery in that the defendants did unlawfully take and
2
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 2 of 18 Document 73
obtain property, namely: a U.S. mail arrow key, against AV-4’s will by means of actual
and threatened force, violence, and fear of injury.
All in violation of Title 18, United States Code, Sections 1951(a) and 2(a).

COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:
On or about March 13, 2023, in the State and Eastern District of Wisconsin,
HURIA H. ABU,
DARRION M. ALLISON, and
ABDI A. ABDI
knowingly used, carried, and brandished a firearm during and in relation to a crime of

violence, namely robbery, as charged in Count Seven of the superseding.

In violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii) and 2(a).

D The defendant acknowledges, understands, and agrees that he is, in fact, guilty of
the offenses described in paragraph 4. The parties acknowledge and understand that if this case
were to proceed to trial, the government would be able to prove the facts in Attachment A
beyond a reasonable doubt. The defendant admits that those facts are true and correct and
establish his guilt beyond a reasonable doubt. The information described in Attachment A is
provided for the purpose of setting forth a factual basis for the plea of guilty. It is not a full
recitation of the defendant’s knowledge of, or participation in, these offenses.

PENALTIES

6. The parties understand and agree that the offenses to which the defendant will
enter a plea of guilty carry the following maximum terms of imprisonment and fines: Counts
Two and Seven, up to 20 years’ imprisonment, a $250,000 fine, 3 years’ supervised release, and

a mandatory $100 special assessment for each count; and Count Eight, a mandatory minimum of

3
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 3 0f 18 Document 73
7 years’ to life imprisonment, which must run consecutive to any other sentence, a $250,000
fine, up to 5 years’ supervised release, and a mandatory $100 special assessment. The parties
further recognize that a restitution order may be entered by the court.

7. The defendant acknowledges, understands, and agrees that he has discussed the
relevant statutes as well as the applicable sentencing guidelines with his attorney.

DISMISSAL OF REMAINING COUNTS

8. The government agrees to move to dismiss the remaining counts of the

superseding indictment, as they pertain to this defendant, at the time of sentencing.

ELEMENTS
9. The parties understand and agree that in order to sustain the charge of Hobbs Act
Robbery as set forth in Counts Two and Seven, the government must prove each of the following
propositions beyond a reasonable doubt:

a. The defendant or his accomplice knowingly obtained property from or in the
presence of a person;

b. The defendant or his accomplice did so by means of robbery;

es, The defendant or his accomplice believed that the person parted with the property
because of the robbery; and

d. The robbery affected interstate commerce.
10. The parties understand and agree that in order to sustain the charge of
Brandishing a Firearm During and in Relation to a Crime of Violence, as set forth in Count
Eight, the government must prove each of the following propositions beyond a reasonable doubt:

a. The defendant committed the crime charged in Count Four of the superseding
indictment; and

b. The defendant or his accomplice knowingly used, carried, and brandished a

firearm during that crime.

4
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 40f18 Document 73
SENTENCING PROVISIONS

11. The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the
presentence report, including that the presentence report be disclosed not less than 35 days
before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any
objections, to be established by the court at the change of plea hearing.

12, The parties acknowledge, understand, and agree that any sentence imposed by the
court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to
the Sentencing Guidelines when sentencing the defendant.

13. The parties acknowledge and agree that they have discussed all of the sentencing
guidelines provisions which they believe to be applicable to the offenses set forth in paragraph 4.
The defendant acknowledges and agrees that his attorney in turn has discussed the applicable
sentencing guidelines provisions with him to the defendant’s satisfaction.

14. The parties acknowledge and understand that prior to sentencing the United States
Probation Office will conduct its own investigation of the defendant’s criminal history. The
parties further acknowledge and understand that, at the time the defendant enters a guilty plea,
the parties may not have full and complete information regarding the defendant’s criminal
history. The parties acknowledge, understand, and agree that the defendant may not move to
withdraw the guilty plea solely as a result of the sentencing court’s determination of the
defendant’s criminal history.

Sentencing Guidelines Calculations

1S The defendant acknowledges and understands that the sentencing guidelines
recommendations contained in this agreement do not create any right to be sentenced within any
particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided
5
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 5of18 Document 73
false, incomplete, or inaccurate information that affects the calculations, the government is not
bound to make the recommendations contained in this agreement.

Relevant Conduct

16. The parties acknowledge, understand, and agree that pursuant to Sentencing
Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating
the sentencing guidelines range, even if the relevant conduct is not the subject of the offenses to
which the defendant is pleading guilty.

Base Offense Level

1%. The parties agree that the applicable base offense level for the offenses charged in
Counts Two and Seven is 20 under Sentencing Guidelines Manual § 2B3.1(a).

Specific Offense Characteristics

18. The parties agree that a two-level increase for taking the property of a post office
under Sentencing Guidelines Manual § 2B3.1(b)(1) is applicable to the offense level for the
offenses charged in Counts Two and Seven.

1. The parties further agree that a six-level increase for the otherwise use of a
firearm under Sentencing Guidelines Manual § 2B3.1(b)(2)(A) is applicable to the offense level
for the offense charged in Count Two.

Multiple Counts

20. The parties further agree that the highest offense level is 28. Pursuant to
Sentencing Guidelines Manual § 3D1.4, one level is added for multiple counts. Therefore, the

total combined offense level is 29.

6
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 6 of 18 Document 73
Acceptance of Responsibility

21. The government agrees to recommend a two-level decrease for acceptance of
responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the
defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the
court determines at the time of sentencing that the defendant is entitled to the two-level reduction
under § 3E1.1(a), the government agrees to make a motion recommending an additional one-
level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant
timely notified authorities of his intention to enter a plea of guilty.

Sentencing Recommendations

Zo. Both parties reserve the right to provide the district court and the probation office
with any and all information which might be pertinent to the sentencing process, including but
not limited to any and all conduct related to the offense as well as any and all matters which
might constitute aggravating or mitigating sentencing factors.

Za Both parties reserve the right to make any recommendation regarding any and all
factors pertinent to the determination of the sentencing guideline range; the fine to be imposed;
the amount of restitution and the terms and condition of its payment; the length of supervised
release and the terms and conditions of the release; the defendant’s custodial status pending the
sentencing; and any other matters not specifically addressed by this agreement.

24. The parties agree that the government will recommend a sentence at the low-end
of the sentencing guidelines as calculated by the sentencing court. The defendant is free to argue
for an appropriate sentence, subject to the seven-year mandatory minimum imprisonment penalty

on Count Eight, which must run consecutive to any other sentence.

7
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 7 of 18 Document 73
Court’s Determinations at Sentencing

Boke The parties acknowledge, understand, and agree that neither the sentencing court
nor the United States Probation Office is a party to or bound by this agreement. The United
States Probation Office will make its own recommendations to the sentencing court. The
sentencing court will make its own determinations regarding any and all issues relating to the
imposition of sentence and may impose any sentence authorized by law up to the maximum
penalties set forth in paragraph 6 above. The parties further understand that the sentencing court
will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines
and may impose a reasonable sentence above or below the calculated guideline range.

26. The parties acknowledge, understand, and agree that the defendant may not move
to withdraw the guilty plea solely as a result of the sentence imposed by the court.

FINANCIAL MATTERS

zy The defendant acknowledges and understands that any and all financial
obligations imposed by the sentencing court are due and payable in full upon entry of the
judgment of conviction. The defendant further understands that any payment schedule imposed
by the sentencing court shall be the minimum the defendant is expected to pay and that the
government’s collection of any and all court imposed financial obligations is not limited to the
payment schedule. The defendant agrees not to request any delay or stay in payment of any and
all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in
the Bureau of Prisons’ Inmate Financial Responsibility Program, regardless of whether the court
specifically directs participation or imposes a schedule of payments.

28. The defendant agrees to provide to the Financial Litigation Program (FLP) of the
United States Attorney’s Office, upon request of the FLP during any period of probation or

supervised release imposed by the court, a complete and sworn financial statement on a form

8
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 8 of 18 Document 73
provided by FLP and any documentation required by the form. [The defendant further agrees,
upon request of FLP whether made before or after sentencing, to promptly: cooperate in the
identification of assets in which the defendant has an interest, cooperate in the liquidation of any
such assets, and participate in an asset deposition.

Special Assessment

Zo. The defendant agrees to pay the special assessment in the amount of $300 prior to

or at the time of sentencing.
Restitution

30. The defendant agrees to pay restitution, as ordered by the court at or before the
time of sentencing. The defendant understands that because restitution for the offenses is
mandatory, the amount of restitution shall be imposed by the court regardless of the defendant’s
financial resources. The defendant agrees to cooperate in efforts to collect the restitution
obligation. The defendant understands that imposition or payment of restitution will not restrict
or preclude the filing of any civil suit or administrative action.

DEFENDANT’S WAIVER OF RIGHTS

SL. In entering this agreement, the defendant acknowledges and understands that he
surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

a. If the defendant persisted in a plea of not guilty to the charges against him, he
would be entitled to a speedy and public trial by a court or jury. The defendant
has a right to a jury trial. However, in order that the trial be conducted by the
judge sitting without a jury, the defendant, the government and the judge all
must agree that the trial be conducted by the judge without a jury.

b. If the trial is a jury trial, the jury would be composed of twelve citizens
selected at random. The defendant and his attorney would have a say in who
the jurors would be by removing prospective jurors for cause where actual
bias or other disqualification is shown, or without cause by exercising
peremptory challenges. The jury would have to agree unanimously before it

9
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 9 of18 Document 73
could return a verdict of guilty. The court would instruct the jury that the
defendant is presumed innocent until such time, if ever, as the government
establishes guilt by competent evidence to the satisfaction of the jury beyond a
reasonable doubt.

C. If the trial is held by the judge without a jury, the judge would find the facts
and determine, after hearing all of the evidence, whether or not he was
persuaded of defendant’s guilt beyond a reasonable doubt.

d. At such trial, whether by a judge or a jury, the government would be required
to present witnesses and other evidence against the defendant. The defendant
would be able to confront witnesses upon whose testimony the government is
relying to obtain a conviction and he would have the right to cross-examine
those witnesses. In turn the defendant could, but is not obligated to, present
witnesses and other evidence on his own behalf. The defendant would be
entitled to compulsory process to call witnesses.

& At such trial, defendant would have a privilege against self-incrimination so
that he could decline to testify and no inference of guilt could be drawn from
his refusal to testify. If defendant desired to do so, he could testify on his own
behalf.

32, The defendant acknowledges and understands that by pleading guilty he is
waiving all the rights set forth above. The defendant further acknowledges the fact that his
attorney has explained these rights to him and the consequences of his waiver of these rights.
The defendant further acknowledges that as a part of the guilty plea hearing, the court may
question the defendant under oath, on the record, and in the presence of counsel about the
offense to which the defendant intends to plead guilty. The defendant further understands that the
defendant’s answers may later be used against the defendant in a prosecution for perjury or false
statement.

33, The defendant acknowledges and understands that he will be adjudicated guilty of
the offenses to which he will plead guilty and thereby may be deprived of certain rights,

including but not limited to the right to vote, to hold public office, to serve on a jury, to possess

firearms, and to be employed by a federally insured financial institution.

10
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 10o0f18 Document 73
34. The defendant knowingly and voluntarily waives all claims he may have based
upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth
Amendment. The defendant agrees that any delay between the filing of this agreement and the
entry of the defendant’s guilty plea pursuant to this agreement constitutes excludable time under
the Speedy Trial Act.

35. Based on the government’s concessions in this agreement, the defendant
knowingly and voluntarily waives his right to appeal his conviction or sentence in this case and
further waives his right to challenge his conviction or sentence in any post-conviction
proceeding, including but not limited to a motion pursuant to 28 U.S.C. § 2255. As used in this
paragraph, the term “sentence” means any term of imprisonment, term of supervised release,
term of probation, supervised release condition, fine, forfeiture order, and restitution order. The
defendant’s waiver of appeal and post-conviction challenges includes the waiver of any claim
that (1) the statutes or Sentencing Guidelines under which the defendant is convicted or
sentenced are unconstitutional, and (2) the conduct to which the defendant has admitted does not
fall within the scope of the statutes or Sentencing Guidelines. This waiver does not extend to an
appeal or post-conviction motion based on (1) any punishment in excess of the statutory
maximum, (2) the sentencing court’s reliance on any constitutionally impermissible factor, such
as race, religion, or sex, (3) ineffective assistance of counsel in connection with the negotiation
of the plea agreement or sentencing, or (4) a claim that the plea agreement was entered
involuntarily.

Further Civil or Administrative Action

36. The defendant acknowledges, understands, and agrees that the defendant has
discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any
11
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 11o0f18 Document 73
other state or local government to take further civil, administrative, or regulatory action against
the defendant, including but not limited to any listing and debarment proceedings to restrict
rights and opportunities of the defendant to contract with or receive assistance, loans, and
benefits from United States government agencies.

GENERAL MATTERS

37. The parties acknowledge, understand, and agree that this agreement does not
require the government to take, or not to take, any particular position in any post-conviction
motion or appeal.

38. The parties acknowledge, understand, and agree that this plea agreement will be
filed and become part of the public record in this case.

39, The parties acknowledge, understand, and agree that the United States Attorney’s
office is free to notify any local, state, or federal agency of the defendant’s conviction.

AQ. The defendant understands that pursuant to the Victim and Witness Protection
Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the
United States, the victim of a crime may make a statement describing the impact of the offense
on the victim and further may make a recommendation regarding the sentence to be imposed.
The defendant acknowledges and understands that comments and recommendations by a victim
may be different from those of the parties to this agreement.

EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

Al. The defendant acknowledges and understands if he violates any term of this
agreement at any time, engages in any further criminal activity prior to sentencing, or fails to
appear for sentencing, this agreement shall become null and void at the discretion of the
government. The defendant further acknowledges and understands that the government’s

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea
12
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 12 o0f18 Document 73
agreement is revoked or if the defendant’s conviction ultimately is overturned, then the
government retains the right to reinstate any and all dismissed charges and to file any and all
charges which were not filed because of this agreement. The defendant hereby knowingly and
voluntarily waives any defense based on the applicable statute of limitations for any charges filed
against the defendant as a result of his breach of this agreement. The defendant understands,
however, that the government may elect to proceed with the guilty plea and sentencing. If the
defendant and his attorney have signed a proffer letter in connection with this case, then the
defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

VOLUNTARINESS OF DEFENDANT’S PLEA

42. The defendant acknowledges, understands, and agrees that he will plead guilty
freely and voluntarily because he is in fact guilty. The defendant further acknowledges and
agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.

13
Case 2:23-cr-00068-BHL Filed 01/04/24 Page 13 of 18 Document 73
ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.

fl “f ilen MLE.

ABDI A. ABDI
Defendant

Iam the defendant’s attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client’s decision to enter into as agreement is an informed

and voluntary one.

[- 4f-\ ef

Date: €?

@HKISTOPHER CARSON
Attorney for Defendant

For the United States of America:

Date: [-H-20ry Mies 26. {_

fw GREGO RY J. HAANSTAD
i eae States Attorney

Date: 174/ 2Y Bete

ABBEY M. MARZICK
WILLIAM T. BERENS
Assistant United States Attorneys

14

Case 2:23-cr-O0068-BHL Filed 01/04/24 Page 14 o0f18 Document 73

United States v. Abdi A. Abdi, EDWI Case No. 23-CR-68
ATTACHMENT A

Background

The United States Postal Service (“USPS”) confirmed that between late October 2022 and mid-
April 2023, there were approximately 50 thefts of mail collection boxes in the Milwaukee area,
all but one of which were done using stolen arrow keys. The majority of these mail thefts were in
the Shorewood and northeast area of Milwaukee. During the same time period, there were
multiple reports of USPS mail carriers being robbed of their arrow keys, frequently at gunpoint.

October 25, 2022 Armed Robbery of Postal Carrier (Count Two)

On October 23, 2022, at about 2:30pm, a USPS mail carrier (hereinafter referred to as AV-1)
was delivering mail in the vicinity of 25XX North Richards Street in Milwaukee when four
males approached him and demanded his property. AV-1 did not see a gun, but recalled one of
the subjects saying that one of the subjects had a gun. AV-1 also recalled feeling an object being
put to his back. AV-1 initially refused to give up his work keys, and one of the subjects punched
him. That subject and AV-1 struggled, and during that struggle, the subject stole AV-1’s keys.
The four subjects fled together on foot. The subject who punched AV-1 was later identified as
co-defendant Jessie Cook in a photo array. The robbery discussed herein affected interstate and
foreign commerce.

March 13, 2023 Armed Robbery of Postal Carrier (Counts Seven and Eight)

On March 13, 2023, at about 1:00pm, USPS carrier AV-4 was delivering mail in the vicinity of
4548 N. 38"" Street in Milwaukee when two males with guns and wearing masks ran up to him
and demanded and obtained his USPS arrow key. AV-4 said that he noticed that the two males
seemed to be surveilling him for a few minutes before robbing him. AV-4 described one of the
subjects as very short and the other as much taller. The shorter one had a Draco-style gun with a
wooden stock, pointed the gun at AV-4’s head, and said, “Gimme the keys, I'll shoot you.” The
subjects were later identified as defendant Abdi Abdi (shorter subject) and co-defendant
Darrion Allison (taller subject) (hereinafter “Allison”). Surveillance video showed the subjects
fleeing in a silver 2009 Honda Civic bearing WI registration plates ABG8200. One citizen
witness observed the robbery from outside her window. She saw one of the two subjects pointing
a gun at the mailman. She grabbed her three-year-old nephew and pulled him to the ground, in
fear that shots would be fired. The Honda Civic was registered to co-defendant Huria Abu’s
(hereinafter “Abu”) stepfather, M.O. Co-defendant Abu is also linked to the Honda Civic and
officers with the Whitefish Bay Police Department stopped the Honda Civic approximately four
months earlier, and Abu was the driver.

Post-March 13, 2023 Investigation

Case 2:23-cr-O0068-BHL Filed 01/04/24 Page 15 of18 Document 73
On March 14, 2023, Abdi was observed purchasing a handgun at the Farm and Fleet store in
Germantown. Abdi was observed wearing the same blue puffy jacket the shorter subject was
wearing less than 24 hours earlier during the robbery the day prior.

On March 20, 2023, two black male subjects stole mail from the collection box at a post office at
3921 North 35" Street in Milwaukee. The subjects used an arrow key. One of the subjects was
wearing the same blue puffy jacket as the shorter subject from the March 13 robbery. Pursuant to
state search warrant, a GPS tracking device was attached to the Honda Civic used in the March
13 robbery. On March 24, 2023, MPD officers conducted a traffic stop of the same Honda Civic.
Located inside the vehicle was the driver/owner Abdi, and passengers Abu and Allison. During
the traffic stop, officers obtained phone numbers for the occupants.

Butler events on March 27, 2023

On March 27, 2023, around midnight, Butler Police Department officers observed two male
subjects running down a deserted alley. Officers stopped and questioned the men and they were
identified as Abdi and Allison. After being questioned, they were released. Shortly after, Butler
PD officers stopped the same Honda Civic! outside the Butler Police Department. The driver and
sole occupant was identified was co-defendant Abu. Abu was arrested after officers recovered
marijuana from inside the car. Officers also recovered 19 personal checks made out to various
people. Abu’s cell phone was also recovered.

Surveillance video from outside the Butler Post Office showed two subjects matching the
description of Abdi and Allison tampering with the blue mail collection box outside of the post
office. The next day, USPS informed officers that the amount of mail in the blue mailbox was
lighter than normal for a Monday morning.

Cell site evidence

Regarding the March 13, 2023 robbery, Abdi’s historical cell site records show that his phone
traveled with Abu and Allison before and after the robbery. There are no cell site records for
Abdi’s phone at the time of the robbery.

Travel to Green Bay banks

On April 3, 2023, GPS data shows the Honda Civic leaving 2965 North Sth St. (Abdi’s
residence) at 9:16am and then travels to 2546 North 37th St (Abu’s residence) at 9:45am. The
vehicle then travels to 5355 N 83rd St (Allison’s residence) at 10:08am. The vehicle then drives
to Green Bay, Wisconsin, and arrives at 12:18pm. Investigation and video surveillance revealed

‘Tt is the same car, but different plates. The plates on this day listed to Abdi. Agents believe that on March 24, 2023,
the Civic was registered to the new registrant and the plates were changed.

2

Case 2:23-cr-00068-BHL Filed 01/04/24 Page 16 of 18 Document 73
that Abdi, Abu, and Allison all performed transactions at the US Bank located at 1950 S Webster
Avenue, in Green Bay and then drove next door to the Wells Fargo Bank located at 1900 S
Webster Avenue and performed additional transactions. The vehicle then drove back to
Milwaukee.

Sunday night, April 23 under early Monday morning (Count Nine), April 24; arrest of
Abu, Allison, and Abdi

On April 23, 2023, and into April 24, 2023, MAVCTF members surveilled known mail
collection boxes that had recently experienced mail thefts. On April 23, 2023, at approximately
11:15pm, officers observed two males running eastbound on W Florist Ave towards N Teutonia
Ave, where there were known USPS mailboxes. Suspect 1 was tall, over 6’00”, with a medium
build, wearing dark pants, a dark hooded sweatshirt with the hood up, and possible writing on the
front of the sweatshirt. Suspect 1 was later identified as Allison. Suspect 2 was much shorter,
possibly 5°05” to 5°07”, wearing what appeared to be an Adidas jacket or sweatshirt. The jacket
or sweatshirt was dark or black with stripes going down the shoulders ending at approximately
the elbow area. Suspect 2 was later identified as Abdi. Allison acted as a lookout as Abdi
crouched down and opened the mailbox located at 5995 N Teutonia Ave. The subjects removed
what appeared to be mail from the mailbox and then fled westbound on W Florist Avenue, where
they got into a dark-colored Chevrolet Malibu with no rear plate and fled westbound. The
Malibu’s listed owner is Abu and lists to the Buffum address from the search warrant.

At approximately 12:00am, MAVCTF observed the same two subjects go to the mailbox at the
post office located at 5521 W Center Street in Milwaukee, open the mailbox, and then fled the
area in the Chevy Malibu. A traffic stop of the Malibu was conducted. The driver of the Malibu
was Allison and the front passenger was Abdi. They were both arrested and the car was
searched. Inside the car were two garbage bags containing over 400 pieces of stolen mail. During
a search incident to arrest of Allison, officers located the stolen arrow key from the March 13
robbery. Inside the glovebox of the Malibu were two pieces of mail addressed to Abu.
Immediately after Allison and Abdi’s arrest, agents observed a phone number associated with
Abu call Allison’s cell phone (which was inventoried) several times.

Later that day, around 1:10 pm, law enforcement stopped Abu in a blue Chrysler and arrested
him without incident. The Chrysler was searched and located in the trunk was a blue puffy coat
similar to one worn by Abdi during the March 13 armed robbery, along with a sweatshirt with
the “Scamily” logo on the front.

A search warrant was also executed at Abdi’s residence at 29XX N. 5"" Street. Here, agents
located two empty, black Glock firearm boxes, a small amount of ammunition, money orders,
“washed” money orders, a receipt from Fleet Farm for the purchase of a Glock, and the title to
the blue Chrysler.

Case 2:23-cr-O0068-BHL Filed 01/04/24 Page 17 of 18 Document 73
Post-arrest statements of Allison and Abu

Both Allison and Abu gave post-arrest statements to officers after waiving their rights. Allison
admitted to participating in the March 13 robbery. He said that the robbery occurred because a
few nights prior, Abdi was using a different arrow key to try to steal mail, and that key broke off
in the mail collection box. Allison said that Abu was extremely upset about this and ordered
Abdi to get another key. Allison stated that Abu is known as “the Don” and is the leader of the
group. Allison said that on March 13, he met up with Abdi, Abu, and two others. Allison said he
was driving the Honda and Abdi was in the back seat while Abu followed them in a Malibu. He
said they drove around and eventually found a mail carrier, circled back around, and then he
(Allison) and Abdi went and robbed the mailman at gunpoint. Allison said that Abdi had a
Draco pistol rifle. Allison said that Abdi found the arrow key in the mailman’s bag and pulled it
out. Allison said that during the robbery, Abdi racked the Draco and Allison was scared that he
was going to shoot the mail carrier. Allison admitted he was also armed with a gun during the
robbery. Allison said they ran back to the car after robbing the mailman, and that Abu got into
the Honda Civic and Abdi handed the stolen key over to Abu. Allison said that Abdi and Abu
were laughing about the robbery. Allison said that he did the robbery under Abu’s direction.

CD-1 Debrief

CD-1, a cooperating defendant, debriefed with law enforcement regarding his involvement in the
postal robberies. As to the October 2022 robbery, CD-1 stated that he, co-defendant Cook, co-
defendant Abu, and defendant Abdi were the ones involved. CD-1 said that Abu was armed with
the black Glock and that Abu put the gun to the victim’s back. He said that Cook fought the
mailman, and that Cook is the one who took the mailman’s keys. CD-1 said that the four of them
all surveilled the mailman immediately before the robbery and they all discussed the plan to rob
him. CD-1 said that Abdi’s role was that of a lookout and that he stood back about 10-15 feet
from where the other three approached the mailman and robbed him. CD-1 said the four of them
all fled on foot together. CD-1 said there was no car used during this robbery, and that the four
of them came from and went back to the house on Buffum. CD-1 confirmed that this robbery
was “planned” and that all four of them were responsible for it.

Case 2:23-cr-00068-BHL Filed 01/04/24 Page 18 of 18 Document 73
